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                                                 7                                  Party Plaintiff,
                                                     Telephone: 310-777-8399        OMNIVERSE ONE WORLD
                                                 8   Facsimile: 310-777-8348        TELEVISION, INC. and JASON M.
                                                                                    DEMEO
                                                 9                  UNITED STATES DISTRICT COURT
                                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                10    PARAMOUNT PICTURES
                                                                                   CASE NO. 2:19-cv-01156-MFW-ASx
                                                11    CORPORATION; COLUMBIA
                                                      PICTURES INDUSTRIES, INC.;   THIRD-PARTY PLAINTIFF
                                                12                                 OMNIVERSE ONE WORLD
                                                      DISNEY ENTERPRISES, INC.;
                                                                                   TELEVISION, INC.’S THIRD-PARTY
                                                13    TWENTIETH CENTURY FOX FILM COMPLAINT FOR
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                                                      CORPORATION; WARNER BROS     INDEMNIFICATION, BREACH OF
                     B E V E R L Y H I L LS




                                                14                                 CONTRACT, NEGLIGENT
                                                      ENTERTAINMENT, INC.;
                                                                                   MISREPRESENTATION,
                                                15    UNIVERSAL CITY STUDIOS       FRAUDULENT
                                                      PRODUCTIONS LLLP;            MISREPRESENTATION, BREACH OF
                                                16                                 IMPLIED WARRANTY OF TITLE
                                                      UNIVERSAL TELEVISION LLC;
                                                                                   AND AGAINST INFRINGEMENT,
                                                17    and UNIVERSAL CONTENT        AND BREACH OF COVENANT OF
                                                      PRODUCTIONS LLC,             GOOD FAITH AND FAIR DEALING
                                                18
                                                                     Plaintiffs,
                                                                                   DEMAND FOR JURY TRIAL
                                                19         v.
                                                      OMNIVERSE ONE WORLD          Judge: Hon. Michael W. Fitzgerald
                                                20
                                                      TELEVISION, INC.; JASON M.
                                                21    DEMEO,
                                                                    Defendants.
                                                22
                                                      OMNIVERSE ONE WORLD
                                                23    TELEVISION, INC.,
                                                           Third-Party Plaintiff,
                                                24      v.
                                                      HovSat, Inc.; Shant Hovnanian; and
                                                25    DOES 1-10, inclusive,
                                                26         Third-Party Defendants.
                                                27

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                                                 1
                                                                                THIRD-PARTY CLAIMS
                                                 2
                                                           COME      NOW     Third-Party   Plaintiff   OMNIVERSE       ONE    WORLD
                                                 3
                                                     TELEVISION, INC. (“Third-Party Plaintiff” or “OMNIVERSE”), by and through
                                                 4
                                                     their counsel of record and pursuant to Federal Rule of Civil Procedure 12, hereby
                                                 5
                                                     complain and allege as follows:
                                                 6

                                                 7                                     I. THE PARTIES
                                                 8   1.    Third-Party Plaintiff Omniverse One World Television, Inc. is a Delaware
                                                 9   corporation, with head office at 1712 Main Street, Suite 100, Kansas City, Missouri
                                                10   64108-1332.
                                                11   2.    Upon information and belief, Third-Party Defendant Hovsat, Inc. is a revoked
                                                12   New Jersey corporation, with head office at 2500 Shafto Road, Tinton Falls, New
                                                13   Jersey 07712. Upon information and belief, HovSat, Inc. is also believed to have a
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                                                14   business address at 1 Dag Hammarskjolk Blvd., Freehold, NJ, 07728. See Exhibit 1.
                                                15   3.    Upon information and belief, Third-Party Defendant Shant Hovnanian is an
                                                16   individual of last known residence at Monmouth County, New Jersey at 520
                                                17   Navesink Road, Red Bank, New Jersey 07701.
                                                18   4.    OMNIVERSE is not aware of the true names and capacities of DOES 1
                                                19   through 10, inclusive, and therefore sues these third-party defendants by such
                                                20   fictitious names. OMNIVERSE will amend this Third-Party Complaint to show the
                                                21   DOES’ true names and capacities once they are ascertained. Each of the fictitiously
                                                22   named DOE third-party defendants is responsible in some manner for the activities
                                                23   alleged in the Third-Party Complaint and thus is responsible for causing
                                                24   OMNIVERSE’s damages herein.
                                                25   5.    OMNIVERSE is informed and believes, an on that basis alleges, that each
                                                26   Third-Party Defendant is and/or was an agent, servant, co-conspirator, and/or
                                                27
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                                                 1
                                                     employee of each of the other Defendants, and in doing the things alleged was acting
                                                 2
                                                     within the course and scope of said agency, conspiracy, and/or employment.
                                                 3
                                                     Therefore, each Third-Party Defendant will be collectively referred to herein as
                                                 4
                                                     “HOVSAT.”
                                                 5

                                                 6
                                                                              II. JURISDICTION AND VENUE

                                                 7
                                                     6.     This Court has subject matter jurisdiction over OMNIVERSE’s third-party

                                                 8
                                                     claims for common law indemnification, breach of contract, negligent

                                                 9
                                                     misrepresentation, and fraudulent misrepresentation pursuant to 28 U.S.C. § 1332

                                                10
                                                     because Omniverse One World Television, Inc. and Mr. DeMeo are diverse in

                                                11
                                                     citizenship from Third-Party Defendants and more than $75,000, exclusive of

                                                12
                                                     interests and costs, is in controversy because OMNIVERSE seeks in excess of

                                                13
                                                     $75,000, exclusive of interests and costs, from Third-Party Defendants. This Court
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                                                     also has supplemental jurisdiction over OMNIVERSE’s third-party claims pursuant
                     B E V E R L Y H I L LS




                                                14

                                                15
                                                     to 28 U.S.C. § 1367(a) because the third-party claims are based on the same nucleus

                                                16
                                                     of operative facts as Plaintiff’s claims arising under federal law, namely under the

                                                17
                                                     Copyright Act, 17 U.S.C. §§ 101 et seq.

                                                18
                                                     7.     This Court has personal jurisdiction over Third-Party Defendants because the

                                                19
                                                     intellectual property rights owners of the intellectual property rights under which the

                                                20
                                                     third-party claims arise from reside, have a principal place of business, or conduct

                                                21
                                                     business within this district. A contract that substantially relied upon the intellectual

                                                22
                                                     property rights of intellectual property rights owners within this district reasonably

                                                23
                                                     anticipated the possibility of being hailed into this Court for all parties to the contract.

                                                24
                                                     8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

                                                25
                                                     substantial part of the events or omissions giving rise to the claim occurred in this

                                                26
                                                     district and Third-Party Defendants are subject to personal jurisdiction in this district.

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                                                 1
                                                                              III. GENERAL ALLEGATIONS
                                                 2
                                                     The Joint Venture Agreement
                                                 3
                                                     9.    HovSat, Inc. is a cable operator company that delivered cable service to multi-
                                                 4
                                                     dwelling units. HOVSAT operated a headend located in New Jersey for its cable
                                                 5
                                                     operations. HovSat, Inc. is believed to be or have been owned and operated by Shant
                                                 6
                                                     Hovnanian.
                                                 7
                                                     10.   Shant Hovnanian owned and operated a network of cable companies including
                                                 8
                                                     SpeedusNY L.P., Grand View Cable and/or Grand View Cable Co., and HovSat, Inc.
                                                 9
                                                     11.   OMNIVERSE and its CEO, Jason DeMeo, negotiated, on approximately
                                                10
                                                     November 1, 2017, a Joint Venture Agreement (“Joint Venture Agreement”) with
                                                11
                                                     HOVSAT.          The Joint Venture Agreement was agreed to and executed by
                                                12
                                                     OMNIVERSE and HOVSAT, respectively by Jason DeMeo and Shant Hovnanian.
                                                13
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                                                     See Exhibit 2.
                     B E V E R L Y H I L LS




                                                14
                                                     12.   OMNIVERSE (“OmniSat” in the agreement) was to launch an innovative new
                                                15
                                                     television streaming service for distributing television programming currently
                                                16
                                                     received under contract by HOVSAT as a multi-channel programming provider. The
                                                17
                                                     venture undertook to serve underserved and low-income residential and multi-
                                                18
                                                     dwelling residential subscribers. The venture later expanded its base to non-local
                                                19
                                                     residential subscribers who were customers of various companies that had affiliate
                                                20
                                                     relationships.
                                                21
                                                     13.   The Joint Venture Agreement provided that HOVSAT and OMNIVERSE and
                                                22
                                                     their appropriate affiliates would distribute television programming using a
                                                23
                                                     proprietary “over the top” or OTT media streaming platform, infrastructure, and
                                                24
                                                     distribution relationships. HOVSAT had previously represented to OMNIVERSE
                                                25
                                                     that HOVSAT or its affiliates had acquired the proper copyright licenses through an
                                                26
                                                     agreement between HOVSAT and DirecTV or one of its previous corporate forms.
                                                27
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                                                 1
                                                     14.    “HSAT as a multi-channel programming provider, will provide the joint
                                                 2
                                                     venture with a co-location agreement for access to the content and technology located
                                                 3
                                                     HSAT’s Data Center facility co-located in the building receiving HSAT’s licensed
                                                 4
                                                     programming, and have access to HSAT’s standard programming available during
                                                 5
                                                     this trial period.” (Ex. 2, at p. 2.)
                                                 6
                                                     15.    “OMNIVERSE ONE WORLD TELEVISION, INC., as a developer of media
                                                 7
                                                     streaming technology will contribute their software, media streaming, and media
                                                 8
                                                     platform management capabilities together with existing relationships with media
                                                 9
                                                     streaming partners and subscriber acquisition partners.” Id.
                                                10
                                                     16.    HOVSAT would provide its licensed content and a co-location agreement for
                                                11
                                                     access to the licensed content, while OMNIVERSE would provide the technical
                                                12
                                                     infrastructure and media platform to re-market HOVSAT’s content. In other words,
                                                13
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                                                     HOVSAT only provided licensed content as part of its bargaining within the Joint
                     B E V E R L Y H I L LS




                                                14
                                                     Venture Agreement. HOVSAT continuously represented before and after the Joint
                                                15
                                                     Venture Agreement that (1) HOVSAT had licensed content for OMNIVERSE to re-
                                                16
                                                     market and (2) HOVSAT’s licensed content was from a previous agreement with
                                                17
                                                     DirecTV or one of its previous corporate forms. OMNIVERSE would have never
                                                18
                                                     entered into a contract in which the content it was re-marketing was illegal or
                                                19
                                                     otherwise violating the copyrights of the rights holders.
                                                20
                                                     17.    HOVSAT undertook to and provided a co-location agreement for access to the
                                                21
                                                     content and technology. HOVSAT provided equipment and infrastructure at a data
                                                22
                                                     center facility in New Jersey. A Co-Location Agreement dated September 1, 2014,
                                                23
                                                     can be found in Exhibit 3. The Co-Location Agreement describes the data center
                                                24
                                                     facility located at 2500 Shafto Road, Tinton Falls, New Jersey “operated and
                                                25
                                                     controlled by Hovsat [referring to itself as Hovsat Cable], and at which Hovsat shall
                                                26
                                                     provide the majority of Services.” (Ex. 3, at p. 1.)
                                                27
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                                                 1
                                                     18.   OMNIVERSE streaming was accomplished with various streaming partners
                                                 2
                                                     such as SotalCloud, TikiLIVE, and Vista TV. Conditional access technology ensured
                                                 3
                                                     that streamed content was viewable by paying subscribers (e.g., subscribers of
                                                 4
                                                     TikiLIVE) and was considered to be highly robust with respect to preventing third-
                                                 5
                                                     party misappropriation of streams for unlicensed re-transmission.
                                                 6
                                                     19.   During its period of streaming, OMNIVERSE had contracts with “partners”
                                                 7
                                                     with HTTP Headers and login credentials that enabled them to pull OMNIVERSE
                                                 8
                                                     streams from OMNIVERSE controlled domain names. OMNIVERSE streams were
                                                 9
                                                     obtained by OMNIVERSE from what OMNIVERSE believed were licensed sources,
                                                10
                                                     such as HOVSAT.
                                                11
                                                     OMNIVERSE Performed its Obligations Under the Joint Venture Agreement
                                                12
                                                                  and Believed it was in Compliance with Copyright Law
                                                13
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                                                     20.   OMNIVERSE believed it was marketing technology and other media delivery
                     B E V E R L Y H I L LS




                                                14
                                                     services thorough the Joint Venture Agreement between OMNIVERSE and
                                                15
                                                     HOVSAT. OMNIVERSE believed that HOVSAT was licensed to distribute live TV
                                                16
                                                     under a distribution agreement or series of agreements between HOVSAT (or other
                                                17
                                                     Shant Hovnanian affiliates or controlled entities) and DirecTV.
                                                18
                                                     21.   OMNIVERSE understood that DirecTV held the right to distribute and sub-
                                                19
                                                     distribute content, including copyrighted content of rights holders including Plaintiffs,
                                                20
                                                     by way of DirecTV’s distribution agreements with television networks and movies
                                                21
                                                     studios.
                                                22
                                                     22.   OMNIVERSE understood OMNIVERSE was not a licensed broadcaster or re-
                                                23
                                                     broadcaster of media content. OMNIVERSE believed it was lawfully marketing
                                                24
                                                     technology and other media delivery services under the Joint Venture Agreement
                                                25
                                                     with partner HOVSAT’s lawfully licensed content.
                                                26
                                                     23.   From an OmniSat open letter, “OmniSat is a Joint Venture which is leveraging
                                                27
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                                                 1
                                                     the combined assets and capabilities of authorized multi-channel television operator
                                                 2
                                                     HOVSAT, Inc.” See Exhibit 4.
                                                 3
                                                     24.   OMNIVERSE also paid substantial monthly sums including licensing fees to
                                                 4
                                                     HOVSAT for years ranging from approximately $9,000 to over $46,000.
                                                 5
                                                     OMNIVERSE made these payments under the belief and understanding that these
                                                 6
                                                     payments were for HOVSAT’s copyright licenses through its agreement with
                                                 7
                                                     DirecTV. OMNIVERSE further believed that DirecTV was, in turn, receiving the
                                                 8
                                                     appropriate fees from HOVSAT, with whom OMNVIERSE believed there was a
                                                 9
                                                     direct contract relationship of a confidential nature. These payments would have
                                                10
                                                     appropriately made their way to Plaintiffs for their copyrights through distribution
                                                11
                                                     agreements and the like.     OMNIVERSE made such payments at least from
                                                12
                                                     approximately January 2018 to approximately March 2019.
                                                13
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                                                     25.   HOVSAT understood OMNIVERSE’s payments were for licensing fees for
                     B E V E R L Y H I L LS




                                                14
                                                     OMNIVERSE to lawfully re-market copyrighted content through internet streaming
                                                15
                                                     distribution. HOVSAT made multiple communications to ensure these payments
                                                16
                                                     were made.
                                                17
                                                     26.   OMNIVERSE also made substantial efforts to ensure that streams were
                                                18
                                                     secured to protect the copyright holders.         As demonstrated from emails
                                                19
                                                     approximately dated June 2018, OMNIVERSE changed its streaming operations
                                                20
                                                     after confirming that certain streams were hackable.
                                                21

                                                22
                                                                  HOVSAT Represented to OMNIVERSE That HOVSAT

                                                23
                                                              Had Valid Licenses From DirecTV for Television Streaming

                                                24
                                                     27.   Investors in OMNIVERSE advanced millions of dollars to OMNIVERSE to

                                                25
                                                     purchase equipment and infrastructure and to finance the growth of OMNIVERSE

                                                26
                                                     under the belief that there was a contractual relationship for copyright licenses

                                                27
                                                     between HOVSAT and DirecTV as described above that was in full compliance with
                                                                                              -6-
                                                28
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                                                 1
                                                     the law. OMNIVERSE further believed said licenses allowed OMNIVERSE to
                                                 2
                                                     operate as described above in full compliance with the law.
                                                 3
                                                     28.   Between the approximate dates of November 29, 2017, to December 9, 2017,
                                                 4
                                                     OMNIVERSE investor David Cash made multiple email communications with Shant
                                                 5
                                                     Hovnaninan, and later visited Shant Hovnanian and an OMNIVERSE distributing
                                                 6
                                                     partner. OMNIVERSE investor DAVID CASH met Shant Hovnanian in New Jersey.
                                                 7
                                                     OMNIVERSE investors and partners continued to make significant financial
                                                 8
                                                     commitments to OMNIVERSE based on the belief that the licenses HOVSAT
                                                 9
                                                     represented it had.
                                                10
                                                     29.   OMNIVERSE and its investors believed that a licensing agreement between
                                                11
                                                     HOVSAT and DirecTV existed based on HOVSAT representations. An email from
                                                12
                                                     approximately May 21, 2018, described the agreement between HOVSAT and
                                                13
TROJAN LAW OFFICES




                                                     DirecTV as a “distribution license you have from DirecTV” and “unique.”
                     B E V E R L Y H I L LS




                                                14
                                                     30.   OMNIVERSE also had its equipment upgraded with DirecTV equipment on
                                                15
                                                     approximately November 2018.        Email communications indicated that Shant
                                                16
                                                     Hovnanian represented that he was in communications with DirecTV to upgrade
                                                17
                                                     equipment at a headend located in New Jersey. In conjunction with the Joint Venture
                                                18
                                                     Agreement, investments to OMNIVERSE, and licensing payments to HOVSAT,
                                                19
                                                     these emails further indicate that HOVSAT had represented that it had a contractual
                                                20
                                                     and licensing relationship with DirecTV.
                                                21

                                                22
                                                               OMNIVERSE’s Efforts to Demonstrate its Legal Operation

                                                23
                                                                           Under the Joint Venture Agreement

                                                24
                                                     31.   OMNIVERSE accordingly disagrees with Plaintiffs’ claim that that

                                                25
                                                     OMNIVERSE copied or stored or caused to be copied or stored copyrighted content

                                                26
                                                     of Plaintiffs or otherwise violated Plaintiffs’ copyrights. OMNIVERSE streamed

                                                27
                                                     what it believed to be licensed content that OMNIVERSE paid significant licensing
                                                                                                -7-
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                                                 1
                                                     fees to HOVSAT to lawfully stream. OMNIVERSE believed these significant fees
                                                 2
                                                     to HOVSAT were to be accounted appropriately to DirecTV for the respective
                                                 3
                                                     copyright licensing rights, which in turn would have been accounted for
                                                 4
                                                     appropriately to Plaintiffs. See Exhibit 5 for Plaintiffs’ Complaint 2:19-cv-01156
                                                 5
                                                     MWF(ASx).
                                                 6
                                                     32.   OMNIVERSE has made multiple demands to HOVSAT for proof to
                                                 7
                                                     corroborate HOVSAT’s license relationships and for material assistance in defending
                                                 8
                                                     the claims in suit. OMNIVERSE also agreed to a subpoena to DirecTV to obtain
                                                 9
                                                     what OMNIVERSE expected to include archived records dating back to the 1990s
                                                10
                                                     and early 2000s between HOVSAT or related entities and DirecTV or its predecessor
                                                11
                                                     companies.
                                                12
                                                     33.   Thus far, the subpoenas have not located historical records of significance
                                                13
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                                                     earlier than 2003. It is unknown if such records referenced in the preceding
                     B E V E R L Y H I L LS




                                                14
                                                     paragraph will be found in discovery.
                                                15
                                                     34.   Additionally, DirecTV productions do not reflect the receipt of the license fees
                                                16
                                                     from HOVSAT even though payments, as described above, were made by
                                                17
                                                     OMNIVERSE to HOVSAT.             OMNIVERSE and its investors were aware of
                                                18
                                                     accounting records showing payments to HOVSAT and believed DirecTV’s records
                                                19
                                                     would show receipt of the appropriate license fees from HOVSAT to DirecTV.
                                                20
                                                     35.   OMNIVERSE made efforts to learn what happened regarding the above
                                                21
                                                     described payments and master distribution or other contracts with DirecTV or
                                                22
                                                     DirecTV’s predecessors that antedated 2003. OMNIVERSE management directed
                                                23
                                                     the cessation of all streaming services to residential subscribers, effective May 31,
                                                24
                                                     2019, and determined that the company would be wound-up and go out of business
                                                25
                                                     under the provisions of Delaware law.
                                                26
                                                     36.   OMNIVERSE winding up operations and going out of business will result in
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                                                 1
                                                     considerable loss of investor funds. OMNIVERSE accounting records and tax
                                                 2
                                                     returns will not show that OMNIVERSE profited during operations. It is believed
                                                 3
                                                     that OMNIVERSE will have lost substantial sums.
                                                 4
                                                     37.   OMNIVERSE previously announced by press conference that it intended to
                                                 5
                                                     continue to deliver multiple-dwelling unit related services. Omniverse will be
                                                 6
                                                     unwinding its business operations and make commercially reasonable dispositions of
                                                 7
                                                     its equipment and assets in accordance with Delaware law.
                                                 8
                                                     38.   OMNIVERSE has suspended its above described payments to HOVSAT given
                                                 9
                                                     the above described circumstances.
                                                10
                                                     39.   Upon information and belief, Shant Hovnanian is in Armenia. Mr. Hovnanian
                                                11
                                                     was a defendant earlier this year in a tax enforcement proceeding exceeding $16
                                                12
                                                     million. See United States v. Hovnanian, No. CV 18-15099, 2019 WL 2206767, at
                                                13
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                                                     *1 (D.N.J. May 22, 2019). Mr. Hovnanian’s attorneys have not come forward to
                     B E V E R L Y H I L LS




                                                14
                                                     support the legal position of HOVSAT.
                                                15

                                                16
                                                                                        IV. First Count:

                                                17
                                                                                Common Law Indemnification

                                                18
                                                     40.   OMNIVERSE re-alleges the allegations set forth in paragraphs 1 though 40

                                                19
                                                     above, as if fully set forth herein.

                                                20
                                                     41.   The Agreements between OMNIVERSE and HOVSAT formed a legal and

                                                21
                                                     special relationship between those parties that existed prior to any of the copyright

                                                22
                                                     infringement alleged in Plaintiffs’ Complaint.

                                                23
                                                     42.   This is a special relationship that gives rise to a duty for HOVSAT to

                                                24
                                                     indemnify and hold harmless OMNIVERSE for any damages that OMNIVERSE

                                                25
                                                     may suffer in connection with entering the Agreements with HOVSAT.

                                                26
                                                     43.   Plaintiffs allege that they were damaged under a theory of copyright

                                                27
                                                     infringement from OMNIVERSE’s streaming operations and business that was in
                                                                                               -9-
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                                                 1
                                                     fact a remarketing of what OMNIVERSE believed to be HOVSAT’s licensed content.
                                                 2
                                                     44.     OMNIVERSE undertook its streaming operations and business because (1)
                                                 3
                                                     OMNIVERSE believe it was operating with copyright law by operating under
                                                 4
                                                     HOVSAT’s copyright licenses through the Joint Venture Agreement, (2) HOVSAT
                                                 5
                                                     represented that HOVSAT’s copyright licenses existed and were valid for
                                                 6
                                                     OMNIVERSE to operate under, (3) HOVSAT accepted payments from
                                                 7
                                                     OMNIVERSE as part of the licensing fees from the Joint Venture Agreement for
                                                 8
                                                     HOVSAT’s purported copyright licenses, and (4) HOVSAT continued to represent
                                                 9
                                                     said copyright licenses existed and were valid and continued to accept licensing fees
                                                10
                                                     for such.
                                                11
                                                     45.     The damages Plaintiffs allege in their Complaint, if any, are a direct result of
                                                12
                                                     HOVSAT’s acts or omissions.
                                                13
TROJAN LAW OFFICES




                                                     46.     OMNIVERSE is without fault in causing Plaintiffs’ alleged damages.
                     B E V E R L Y H I L LS




                                                14
                                                     47.     The relationship between OMNIVERSE and HOVSAT establishes a right of
                                                15
                                                     indemnity in OMNIVERSE against HOVSAT regarding the allegations in Plaintiffs’
                                                16
                                                     Complaint.
                                                17
                                                     48.     Should Plaintiffs be awarded any sums, including damages, costs, or attorneys’
                                                18
                                                     fees against OMNIVERSE, any such liability on the part of OMNIVERSE results
                                                19
                                                     from the acts or omissions of HOVSAT.
                                                20
                                                     49.     Accordingly, HOVSAT should indemnify OMNIVERSE for all amounts and
                                                21
                                                     losses for which OMNIVERSE may be liable to Plaintiffs, including any damages,
                                                22
                                                     costs, attorneys’ fees, injunctions, or any other sums assessed against OMNIVERSE.
                                                23

                                                24
                                                     /////

                                                25
                                                     /////

                                                26
                                                                                       V. Second Count:

                                                27
                                                                                       Breach of Contract
                                                                                                 -10-
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                                                 1
                                                     50.   OMNIVERSE re-alleges the allegations set forth in paragraphs 1 though 50
                                                 2
                                                     above, as if fully set forth herein.
                                                 3
                                                     51.   OMNIVERSE and HOVSAT entered into valid and binding contracts, namely
                                                 4
                                                     the co-location agreement, Joint Venture Agreement, and any agreements containing
                                                 5
                                                     modifications thereto (collectively, the Contract).
                                                 6
                                                     52.   In the Contract, HOVSAT represented that it had lawful copyright licenses
                                                 7
                                                     under which OMNIVERSE would remarket television content provided by
                                                 8
                                                     HOVSAT.
                                                 9
                                                     53.   OMNIVERSE performed its obligations under the Agreements.
                                                10
                                                     54.   Specifically, OMNIVERSE paid all fees due to HOVSAT under the Contract.
                                                11
                                                     55.   If Plaintiffs’ allegations are true, specifically that OMNIVERSE violated
                                                12
                                                     Plaintiffs’ copyrights by streaming video content under the Contract, then HOVSAT
                                                13
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                                                     breached the terms of the Contract by misrepresenting that HOVSAT had a valid
                     B E V E R L Y H I L LS




                                                14
                                                     copyright license (from DirecTV or otherwise) under from which OMNIVERSE
                                                15
                                                     could market a television streaming business operation.
                                                16
                                                     56.   HOVSAT further breached the Contract by continuously accepting payments
                                                17
                                                     from OMNIVERSE under the guise that such payments were for licensing fees for
                                                18
                                                     HOVSAT’s purported copyright licenses.
                                                19
                                                     57.   As a result of HOVSAT’s breaches of the Contract, OMNIVERSE suffered
                                                20
                                                     damages, including: (a) damages incurred as a result of Plaintiffs’ lawsuit, including
                                                21
                                                     the amount of any judgment entered in favor of Plaintiffs against OMNIVERSE and
                                                22
                                                     any losses from an injunction entered in favor of Plaintiffs against OMNIVERSE, as
                                                23
                                                     well as OMNIVERSE’s own attorneys’ fees and costs; (b) the amount owed from
                                                24
                                                     licensing payments made in good faith by OMNIVERSE to HOVSAT for licensing
                                                25
                                                     costs under the Agreements, plus interest, penalties, attorneys’ fees, and costs; (c)
                                                26
                                                     financial losses in the form of lost capital as a result of the collapse of OMNIVERSE
                                                27
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                                                 1
                                                     from the failure of HOVSAT to honor the Contract; and (d) loss of future profits that
                                                 2
                                                     Omniverse would have made if HOVSAT had honored the Contract.
                                                 3

                                                 4
                                                                                        VI. Third Count:

                                                 5
                                                                                  Negligent Misrepresentation

                                                 6
                                                     58.   OMNIVERSE re-alleges the allegations set forth in paragraphs 1 through 58

                                                 7
                                                     above, as if fully set forth herein.

                                                 8
                                                     59.   HOVSAT induced OMNIVERSE to enter into the Agreements by representing

                                                 9
                                                     to OMNIVERSE that HOVSAT had proper copyright licenses under which

                                                10
                                                     OMNIVERSE could lawfully remarket a television streaming business operation

                                                11
                                                     under the Joint Venture Agreement.

                                                12
                                                     60.   If Plaintiffs’ allegations in this case are determined to be true, then HOVSAT’s

                                                13
                                                     representations to OMNIVERSE were false.
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                                                     61.   Upon information and belief, HOVSAT was a New Jersey corporation
                     B E V E R L Y H I L LS




                                                14

                                                15
                                                     operated by Shant Hovnanian, a New Jersey resident, when HOVSAT represented

                                                16
                                                     that HOVSAT had valid copyright licenses for television streaming distribution

                                                17
                                                     through a prior agreement with DirecTV, its previous corporate forms, or otherwise.

                                                18
                                                     62.   HOVSAT’s representations to OMNIVERSE were at least made on or about

                                                19
                                                     November 1, 2017, in the Joint Venture Agreement.

                                                20
                                                     63.   HOVSAT’s representations were made to OMNIVERSE in writing through

                                                21
                                                     the Joint Venture Agreement.

                                                22
                                                     64.   If HOVSAT’s representations were false, HOVSAT either knew or should

                                                23
                                                     have known the representations were false; thus, HOVSAT was at least negligent in

                                                24
                                                     making the representations to OMNIVERSE.

                                                25
                                                     65.   In making the representations, HOVSAT knew or should have known that the

                                                26
                                                     representations would induce OMNIVERSE to act by contracting through at least the

                                                27
                                                     Joint Venture Agreement and making payments to HOVSAT for the represented
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                                                 1
                                                     licenses.
                                                 2
                                                     66.   OMNIVERSE was, in fact, induced to enter in the Joint Venture Agreement
                                                 3
                                                     with HOVSAT as a result of HOVSAT’s misrepresentations regarding the license(s).
                                                 4
                                                     67.   OMNIVERSE suffered damages as a result of its reasonable and justifiable
                                                 5
                                                     reliance on HOVSAT’s representations. Such damages may include: (a) damages
                                                 6
                                                     incurred as a result of Plaintiffs’ lawsuit, including the amount of any judgment
                                                 7
                                                     entered in favor of Plaintiffs against OMNIVERSE and any losses from an injunction
                                                 8
                                                     entered in favor of Plaintiffs against OMNIVERSE, as well as OMNIVERSE’s own
                                                 9
                                                     attorneys’ fees and costs; (b) the amount owed from licensing payments made in good
                                                10
                                                     faith by OMNIVERSE to HOVSAT for licensing costs under the Agreements, plus
                                                11
                                                     interest, penalties, attorneys’ fees, and costs; (c) financial losses in the form of lost
                                                12
                                                     capital as a result of the collapse of OMNIVERSE from the failure of HOVSAT to
                                                13
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                                                     honor the Contract; and (d) loss of future profits that Omniverse would have made
                     B E V E R L Y H I L LS




                                                14
                                                     if HOVSAT had not made the misrepresentations.
                                                15
                                                                                       VII. Fourth Count:
                                                16
                                                                                   Fraudulent Misrepresentation
                                                17
                                                     68.   OMNIVERSE re-alleges the allegations set forth in paragraphs 1 through 67
                                                18
                                                     above, as if fully set forth herein.
                                                19
                                                     69.   HOVSAT’s representations to OMNIVERSE in the Joint Venture Agreement
                                                20
                                                     that HOVSAT had acquired (through an agreement with DirecTV, its past corporate
                                                21
                                                     forms, or otherwise) copyright licenses under which OMNIVERSE could lawfully
                                                22
                                                     remarket a television streaming business operation under the Joint Venture
                                                23
                                                     Agreement.
                                                24
                                                     HOVSAT’s representations to OMNIVERSE were made at least on or about
                                                25
                                                     November 1, 2017.
                                                26
                                                     70.   HOVSAT’s representations to OMNIVERSE were at least made on or about
                                                27
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                                                 1
                                                     November 1, 2017, in the Joint Venture Agreement.
                                                 2
                                                     71.   HOVSAT’s representations were made to OMNIVERSE in writing through
                                                 3
                                                     the Joint Venture Agreement and modifications thereto.
                                                 4
                                                     72.   HOVSAT knew that the representations made to OMNVIERSE were false
                                                 5
                                                     when HOVSAT made them.
                                                 6
                                                     73.   HOVSAT induced OMNIVERSE into entering the Agreements by
                                                 7
                                                     representing to OMNIVERSE in the Agreements that HOVSAT had acquired valid
                                                 8
                                                     copyright licenses (through an agreement with DirecTV, its past corporate forms, or
                                                 9
                                                     otherwise) under which OMNIVERSE could lawfully remarket a television
                                                10
                                                     streaming business operation under the Joint Venture Agreement.
                                                11
                                                     74.   Upon information and belief, HOVSAT was a New Jersey corporation
                                                12
                                                     operated by Shant Hovnanian, a New Jersey resident, when HOVSAT represented
                                                13
TROJAN LAW OFFICES




                                                     that HOVSAT had valid copyright licenses for television streaming distribution
                     B E V E R L Y H I L LS




                                                14
                                                     through a prior agreement with DirecTV, its previous corporate forms, or otherwise.
                                                15
                                                     75.   In making the representations, HOVSAT knew or should have known that the
                                                16
                                                     representations would induce OMNIVERSE to act by contracting through at least the
                                                17
                                                     Agreements and making payments to HOVSAT for the represented licenses under
                                                18
                                                     the Joint Venture Agreement.
                                                19
                                                     76.   OMNIVERSE suffered damages as a result of its reasonable and justifiable
                                                20
                                                     reliance on HOVSAT’s representations. Such damages may include: (a) damages
                                                21
                                                     incurred as a result of Plaintiffs’ lawsuit, including the amount of any judgment
                                                22
                                                     entered in favor of Plaintiffs against OMNIVERSE and any losses from an injunction
                                                23
                                                     entered in favor of Plaintiffs against OMNIVERSE, as well as OMNIVERSE’s own
                                                24
                                                     attorneys’ fees and costs; (b) the amount owed from licensing payments made in good
                                                25
                                                     faith by OMNIVERSE to HOVSAT for licensing costs under the Agreements, plus
                                                26
                                                     interest, penalties, attorneys’ fees, and costs; (c) financial losses in the form of lost
                                                27
                                                                                                -14-
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                                                 1
                                                     capital as a result of the collapse of OMNIVERSE from the failure of HOVSAT to
                                                 2
                                                     honor the Contract; and (d) loss of future profits that Omniverse would have made
                                                 3
                                                     if HOVSAT had not made the misrepresentations.
                                                 4
                                                                                       VIII. Fifth Count:
                                                 5
                                                                Breach of Implied Warranty of Title and Against Infringement
                                                 6
                                                     77.   OMNIVERSE re-alleges the allegations set forth in paragraphs 1 though 77
                                                 7
                                                     above, as if fully set forth herein.
                                                 8
                                                     78.   § 2-312(1) of the Universal Commercial Code provides, “there is in a contract
                                                 9
                                                     for a sale a warranty by the sell that (a) the title conveyed shall be good, and its
                                                10
                                                     transfer rightful; and (b) the goods shall be delivered free from any security interest
                                                11
                                                     or other lien or encumbrance of which the buyer at the time of contracting has no
                                                12
                                                     knowledge.”
                                                13
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                                                     79.   § 2-312(3) of the Universal Commercial Code provides, “Unless otherwise
                     B E V E R L Y H I L LS




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                                                     agreed a seller who is a merchant regularly dealing in goods of the kind warrants that
                                                15
                                                     the goods shall be delivered free of the rightful claim of any third person by way of
                                                16
                                                     infringement or the like but a buyer who furnishes specifications to the seller must
                                                17
                                                     hold the seller harmless against any such claim which arises out of compliance with
                                                18
                                                     the specifications.”
                                                19
                                                     80.   OMNIVERSE’s, through the Contract, purchased HOVSAT’s content and the
                                                20
                                                     appropriate licenses to lawfully re-market said content (collectively, the Content),
                                                21
                                                     represented by HOVSAT to be properly licensed through a licensing and distribution
                                                22
                                                     agreement between HOVSAT and DirecTV.
                                                23
                                                     81.   HOVSAT, as a cable operator company, was a merchant regularly dealing in
                                                24
                                                     goods of the kind, namely copyright content, licenses, distribution licenses, and the
                                                25
                                                     like for copyrighted content.
                                                26
                                                     82.   The Content HOVSAT sold by the Contract is currently subject to a copyright
                                                27
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                                                28
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                                                 1
                                                     infringement lawsuit. HOVSAT represented the Content sold through the Contract
                                                 2
                                                     was in good standing and properly licensed.
                                                 3
                                                     83.    OMNIVERSE did not furnish specifications regarding the Content provided
                                                 4
                                                     by the Contract.
                                                 5
                                                     84.    OMNIVERSE and HOVSAT did not otherwise form another agreement that
                                                 6
                                                     changed the Content provided by the Contract. Omniverse continued to make
                                                 7
                                                     payments to HOVSAT for the Content until at least approximately March, 2019.
                                                 8
                                                     85.    If Plaintiffs’ allegations are true, specifically that OMNIVERSE violated
                                                 9
                                                     Plaintiffs’ copyrights by streaming video content under the Contract, then HOVSAT
                                                10
                                                     failed to deliver its goods, the Content, to OMNIVERSE with good title or “free of
                                                11
                                                     the rightful claim of any third person by way of infringement or the like.”
                                                12
                                                     86.    OMNIVERSE suffered damages as a result HOVSAT’s breach of warranty.
                                                13
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                                                     Such damages may include: (a) damages incurred as a result of Plaintiffs’ lawsuit,
                     B E V E R L Y H I L LS




                                                14
                                                     including the amount of any judgment entered in favor of Plaintiffs against
                                                15
                                                     OMNIVERSE and any losses from an injunction entered in favor of Plaintiffs against
                                                16
                                                     OMNIVERSE, as well as OMNIVERSE’s own attorneys’ fees and costs; (b) the
                                                17
                                                     amount owed from licensing payments made in good faith by OMNIVERSE to
                                                18
                                                     HOVSAT for licensing costs under the Agreements, plus interest, penalties, attorneys’
                                                19
                                                     fees, and costs; (c) financial losses in the form of lost capital as a result of the collapse
                                                20
                                                     of OMNIVERSE from the failure of HOVSAT to honor the Contract; and (d) loss
                                                21
                                                     of future profits that Omniverse would have made if HOVSAT had not breached its
                                                22
                                                     implied warranties of title and against infringement.
                                                23
                                                                                        IX.    Sixth Count:
                                                24
                                                                  Breach of Implied Covenant of Good Faith and Fair Dealing
                                                25
                                                     87.    OMNIVERSE re-alleges the allegations set forth in paragraphs 1 though 87
                                                26
                                                     above, as if fully set forth herein.
                                                27
                                                                                                  -16-
                                                28
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                                                 1
                                                     88.   § 1-304 of the Universal Commercial Code provides, “Every contract or duty
                                                 2
                                                     within the Uniform Commercial Code imposes an obligation of good faith in its
                                                 3
                                                     performance and enforcement.”
                                                 4
                                                     89.   OMNIVERSE and HOVSAT entered in the Contract whereby OMNIVERSE
                                                 5
                                                     purchased the Content from HOVSAT.
                                                 6
                                                     90.   HOVSAT owed OMNIVERSE a duty of good faith by being a party to the
                                                 7
                                                     Contract. Additionally, HOVSAT owed a higher duty of good faith as a merchant of
                                                 8
                                                     the good sold by the Contract, the Content. In fulfilling its duty to act in good faith,
                                                 9
                                                     HOVSAT at least must have ensured that the Content it sold to OMNIVERSE was
                                                10
                                                     valid and properly licensed.
                                                11
                                                     91.   HOVSAT knew or had reasons to know it was required to ensure that the
                                                12
                                                     Content it sold to OMNIVERSE was valid and properly licensed.                HOVSAT
                                                13
TROJAN LAW OFFICES




                                                     breached its duty of good faith by at least not ensuring that the Content sold was valid
                     B E V E R L Y H I L LS




                                                14
                                                     and properly licensed.
                                                15
                                                     92.   HOVSAT made multiple communications to ensure that HOVSAT received
                                                16
                                                     payments from OMNIVERSE for the Content sold by the Contract. This was a
                                                17
                                                     further breach of good faith because HOVSAT’s actions to ensure payments for the
                                                18
                                                     Content that HOVSAT had not ensured was valid was unfaithful to the purposes of
                                                19
                                                     the Contract by further misleading OMNIVERSE regarding the validity and
                                                20
                                                     lawfulness Content.
                                                21
                                                     93.   HOVSAT also interfered with OMNIVERSE’s rights to receive the benefits
                                                22
                                                     of the Contract by misleading OMNIVERSE regarding the validity and lawfulness
                                                23
                                                     of the Content through material misrepresentations.
                                                24
                                                     94.   OMNIVERSE fulfilled its obligations under the Contract by making
                                                25
                                                     substantial and regular agreed payments to HOVSAT.
                                                26
                                                     95.   HOVSAT was a cable operator company and merchant regularly in goods such
                                                27
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                                              Case 2:19-cv-01156-MWF-AS Document 48 Filed 09/25/19 Page 19 of 21 Page ID #:425



                                                 1
                                                     as the Content. OMNIVERSE had a justified expectation that the Content HOVSAT
                                                 2
                                                     sold would be valid. OMNIVERSE’s justified expectations were denied because
                                                 3
                                                     HOVSAT sold OMNVIERSE and invalid License.
                                                 4
                                                     96.   If Plaintiffs’ allegations are true, specifically that OMNIVERSE violated
                                                 5
                                                     Plaintiffs’ copyrights by streaming video content under the Contract, then HOVSAT
                                                 6
                                                     breached its “obligation of good faith in its performance and enforcement” of the
                                                 7
                                                     Contract by selling OMNIVERSE an invalid License and further misleading
                                                 8
                                                     OMNIVERSE regarding the validity of the Content.
                                                 9
                                                     97.   OMNIVERSE suffered damages as a result HOVSAT’s breach of implied
                                                10
                                                     covenant of good faith and fair dealing. Such damages may include: (a) damages
                                                11
                                                     incurred as a result of Plaintiffs’ lawsuit, including the amount of any judgment
                                                12
                                                     entered in favor of Plaintiffs against OMNIVERSE and any losses from an injunction
                                                13
TROJAN LAW OFFICES




                                                     entered in favor of Plaintiffs against OMNIVERSE, as well as OMNIVERSE’s own
                     B E V E R L Y H I L LS




                                                14
                                                     attorneys’ fees and costs; (b) the amount owed from licensing payments made in good
                                                15
                                                     faith by OMNIVERSE to HOVSAT for licensing costs under the Agreements, plus
                                                16
                                                     interest, penalties, attorneys’ fees, and costs; (c) financial losses in the form of lost
                                                17
                                                     capital as a result of the collapse of OMNIVERSE from the failure of HOVSAT to
                                                18
                                                     honor the Contract; and (d) loss of future profits that Omniverse would have made
                                                19
                                                     if HOVSAT had not breached its implied covenant of good faith and fair dealing.
                                                20
                                                                                   PRAYER FOR RELIEF
                                                21
                                                           WHEREFORE, Third-Party Plaintiffs OMNIVERSE pray for judgment as
                                                22
                                                     follows:
                                                23
                                                           1.     In the event judgment is entered against OMNIVERSE and in favor of
                                                24
                                                     Plaintiffs in the related matter Paramount Pictures, Inc., et al., v. Omniverse One
                                                25
                                                     World Television Inc. and Jason M. DeMeo, judgment be entered in favor of Third-
                                                26
                                                     Party Plaintiffs, OMNIVERSE, and against Third-Party Defendants, HOVSAT, in
                                                27
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                                                 1
                                                     the amount of any judgment entered against OMNVIERSE, and that OMNIVERSE
                                                 2
                                                     be awarded its attorneys’ fees, interest, the cost of this suit, losses from equitable
                                                 3
                                                     relief, and any other relief the Court finds just and proper.
                                                 4
                                                           2.      Judgment in OMNIVERSE’s favor and against Third-Party Defendants,
                                                 5
                                                     HOVSAT, for damages incurred as a result of Plaintiffs’ lawsuit, including the
                                                 6
                                                     amount of any judgment entered in favor of Plaintiffs against OMNIVERSE, as
                                                 7
                                                     OMNIVERSE’s own attorneys’ fees and costs, the payments made by OMNIVERSE
                                                 8
                                                     under the Agreements, including at least the Joint Venture Agreement, and interest.
                                                 9
                                                           3.      Judgment in OMNIVERSE’s favor and against Third-Party Defendants,
                                                10
                                                     HOVSAT, for damages incurred as a result of Plaintiffs’ lawsuit, as interest, penalties,
                                                11
                                                     attorneys’ fees, the cost of this suit.
                                                12
                                                           4.      Judgment in OMNIVERSE’s favor and against Third-Party Defendants,
                                                13
TROJAN LAW OFFICES




                                                     HOVSAT, for damages incurred as a result of Plaintiffs’ lawsuit, as losses from any
                     B E V E R L Y H I L LS




                                                14
                                                     equitable relief against OMNIVERSE.
                                                15
                                                        5. An award of all financial losses in the form of lost capital as a result of the
                                                16
                                                            collapse of OMNIVERSE from the failure of HOVSAT to honor the Contract;
                                                17
                                                        6. An award of all losses of future profits that Omniverse would have made if
                                                18
                                                            HOVSAT had not made the misrepresentations.
                                                19
                                                        7. For such other and further relief as the Court deems just and proper.
                                                20
                                                21
                                                                                 DEMAND FOR JURY TRIAL

                                                22
                                                            Third-Party Plaintiff, OMNIVERSE, hereby demands a trial by jury on all

                                                23
                                                     issues so triable.

                                                24
                                                                                                    Respectfully Submitted,
                                                25
                                                                                                    TROJAN LAW OFFICES
                                                26
                                                                                                    by
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                                                 3   September 25, 2019                       /s/R. Joseph Trojan
                                                                                              R. Joseph Trojan
                                                 4                                            Attorneys for Defendants and Third-
                                                 5                                            Party Plaintiff,
                                                                                              Omniverse One World Television, Inc.
                                                 6                                            and Jason M. DeMeo
                                                 7
                                                                                              BYRD CAMPBELL, P.A.
                                                 8
                                                                                              by
                                                 9
                                                                                              /s/Stephen D. Milbrath
                                                10                                            Stephen D. Milbrath
                                                11                                            Attorneys for Defendants and Third-
                                                                                              Party Plaintiff,
                                                12                                            Omniverse One World Television, Inc.
                                                13                                            and Jason M. DeMeo
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